      Case 2:12-cv-02075-JAD-GWF
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                    UNITED STATES COURT OF APPEALS                         OCT 10 2017

                                                                       MOLLY C. DWYER, CLERK
                              FOR THE NINTH CIRCUIT                      U.S. COURT OF APPEALS




GREG JACOBI, derivatively on behalf of          No.      16-15695
EchoStar Corporation,
                                                D.C. No.
              Plaintiff-Appellant,              2:12 cv-2075-JAD
                                                D Nev., Las Vegas
 v.

CHARLES W. ERGEN; MICHAEL T.                    ORDER
DUGAN; R. STANTON DODGE; TOM
A. ORTOLF; C. MICHAEL
SCHROEDER; JOSEPH P. CLAYTON;
DAVID K. MOSKOWITZ,

              Defendants-Appellees.



Before:      O’SCANNLAIN, TASHIMA, and BYBEE, Circuit Judges.

      The stipulated motion to voluntarily dismiss appeal [ecf Dkt #33] is granted,

Fed. R. App. P. 42(b), and this appeal is DISMISSED. Each party shall bear his

or its own costs on appeal.

      A copy of this Order shall serve as the mandate.
